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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


  Civil Action No. 13-cv-02469-RM-MJW

  RANDALL J. HATLEE and
  RONALD L. SWIFT,

  Plaintiffs,

  v.

  CINDY HARDEY,
  BOBBI PRIESTLY,
  MONTE GORE,
  FRED WEGNER, and
  ASHLEIGH OLDS,

  Defendants.

                                  MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

        It is hereby ORDERED that Plaintiffs’ Unopposed Motion to Modify Scheduling
  Order (Docket No. 74) is GRANTED. It is further ORDERED that the Final Pretrial
  Conference set for January 26, 2015, at 9:30 a.m. is VACATED and RE-SET for March
  30, 2015, at 9:30 a.m.

  Date: January 7, 2015
